Case 1:18-cv-01434-CFC-JLH Document 230 Filed 05/04/21 Page 1 of 6 PageID #: 12496




                   IN THE UNITED STATES DISTRICT COURT
                       FOR THE DISTRICT OF DELAWARE

  CHROMADEX, INC. and TRUSTEES )
  OF DARTMOUTH COLLEGE,        )
                               )               REDACTED PUBLIC VERSION
                               )
               Plaintiffs,     )
                               )               C.A. No. 18-1434-CFC
      v.                       )
                               )
  ELYSIUM HEALTH, INC.,        )
                               )
               Defendant.      )

     ELYSIUM HEALTH’S STATEMENT OF FACTS IN SUPPORT OF ITS
      MOTION FOR SUMMARY JUDGMENT (NO. 1) OF INVALIDITY
                       UNDER 35 U.S.C. § 101



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   Dated: April 27, 2021




  {01683101;v1 }                        1
Case 1:18-cv-01434-CFC-JLH Document 230 Filed 05/04/21 Page 2 of 6 PageID #: 12497




           Pursuant to Paragraph 20 of the Scheduling Order (D.I. 40), Defendant

  Elysium Health, Inc. submits the following concise statement of material facts in

  support of its motion for summary judgment of invalidity under 35 U.S.C. § 101.

           1.      Nicotinamide riboside occurs naturally in cow’s milk.

  Ex. C1 (Sobol Tr.) at 74; Ex. A (’807 patent) at 7:66-8:10, 27:7-9; Ex. B (’086

  patent) at 7:49-59, 26:32-34; Ex. L (Trammell I2) at 3 (Table 1), 5 (Table 3), and 6.

           2.      Tryptophan occurs naturally in cow’s milk.

  Ex. C (Sobol Tr.) at 82, 92-93; Ex. F (Sobol Rebuttal Report) at ¶¶ 78, 87; Ex. L

  (Trammell I) at 1.

           3.      Nicotinamide occurs naturally in cow’s milk.

  Ex. C (Sobol Tr.) at 82; Ex. F (Sobol Rebuttal Report) at ¶¶ 81, 86; Ex. L

  (Trammell I) at 1, 3, 5 (Table 3).

           4.      Lactose occurs naturally in cow’s milk. Lactose is a sugar.

  Ex. C (Sobol Tr.) at 192.

           5.      Cow’s milk can be consumed orally.

  Ex. C (Sobol Tr.) at 93-94.

           6.      Cow’s milk is a food.



  1
      Exhibits referenced herein are attached to the Declaration of Marco J. Quina, filed
  contemporaneously herewith.
  2
    Samuel AJ Trammell et al., Nicotinamide Riboside is a Major NAD+ Precursor
  Vitamin in Cow Milk, 146 J. OF NUTRITION 965 (2016) (“Trammell I”).

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Case 1:18-cv-01434-CFC-JLH Document 230 Filed 05/04/21 Page 3 of 6 PageID #: 12498




  Ex. C (Sobol Tr.) at 94.

           7.      A deficiency in NAD+ causes the diseases pellagra (in humans)

  and blacktongue (in dogs).

  Ex. C (Sobol Tr.) at 90, 92-93, 94-95; Ex. E (Sobol Opening Rpt.) at ¶ 27.

           8.      Milk prevents or treats pellagra (in humans) and blacktongue (in

  dogs).

  Ex. F (Sobol Rebuttal Rpt.) at page 34 and ¶¶ 80-81, 83, 217, 263; Ex. C (Sobol

  Tr.) at 90, 93-95; Ex. L (Trammell I) at 1; Ex. D (Zhou Tr. (Dartmouth expert in

  IPR)) at 84-85; Ex. I (PTAB’s Final Written Decision in IPR2017-01795 (January

  16, 2019)) at 15-16, 18, 20, 30, 35-36.

           9.      In IPR2017-01795, the Patent Trial Appeal Board found that

  “Pellagra is caused by a deficiency of NAD+. The evidence of record

  demonstrates that the consumption of milk increases NAD+ biosynthesis.”

  Ex. I (PTAB Final Written Decision in IPR2017-01795 (January 16, 2019)) at 41.

           10.     Dartmouth was a party to IPR2017-01795 and voluntarily

  terminated its cross-appeal of the PTAB’s Final Written Decision in that

  proceeding. The Federal Circuit dismissed the cross-appeal and issued its

  mandate in August 2019.




  {01683101;v1 }                             3
Case 1:18-cv-01434-CFC-JLH Document 230 Filed 05/04/21 Page 4 of 6 PageID #: 12499




  Ex. J (Dartmouth’s Unopposed Motion to Terminate Cross-Appeal of IPR2017-

  01795); Ex. K (Federal Circuit order terminating Dartmouth’s cross-appeal and

  issuing mandate).

           11.     The specification of the asserted patents states:

           Polypeptides, nucleic acids, vectors, dietary supplements (i.e.
           nicotinamide riboside), and nicotinamide riboside-related
           prodrugs produced or identified in accordance with the methods
           of the invention can be conveniently used or administered in a
           composition containing the active agent in combination with a
           pharmaceutically acceptable carrier. Such compositions can be
           prepared by methods and contain carriers which are well-known
           in the art. A generally recognized compendium of such methods
           and ingredients is Remington: The Science and Practice of
           Pharmacy, Alfonso R. Gennaro, editor, 20th ed. Lippincott
           Williams & Wilkins: Philadelphia, Pa., 2000.

  Ex. A (’807 patent) at 29:24-35; Ex. B (’086 patent) at 28:49-60.

           12.     The specification of the asserted patents states:

           Isolated extracts of the natural sources can be prepared using
           standard methods. For example, the natural source can be
           ground or homogenized in a buffered solution, centrifuged to
           remove cellular debris, and fractionated to remove salts,
           carbohydrates, polypeptides, nucleic acids, fats, and the like
           before being tested on the mutant strains of the invention. Any
           source of nicotinamide riboside that scores positively in the assay
           of the invention can be further fractionated and confirmed by
           standard methods of HPLC and mass spectrometry.

  Ex. A (’807 patent) at 27:45-54; Ex. B (’086 patent) at 27:3-12.




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Case 1:18-cv-01434-CFC-JLH Document 230 Filed 05/04/21 Page 5 of 6 PageID #: 12500




           13.     In his rebuttal report, Plaintiffs’ expert Robert W. Sobol states:

  “It is not the specific techniques of isolation that transform the Asserted

  Claims beyond a law of nature or natural phenomenon—presuming for this

  step two analysis the Asserted Claims were directed to only these patent

  ineligible concepts in the first instance.”

  Ex. F (Sobol Rebuttal Rpt.) at ¶ 164.


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  {01683101;v1 }                              5
Case 1:18-cv-01434-CFC-JLH Document 230 Filed 05/04/21 Page 6 of 6 PageID #: 12501




                           CERTIFICATE OF COMPLIANCE

           This brief complies with the type, font and word limitations set forth in this

  Court’s Standing Order Regarding Briefing in All Cases, dated November 6, 2019.

  This brief contains 690 words (excluding the title page, table of contents, table of

  authorities, signature block, and certificate of compliance). This brief has been

  prepared in 14-point Times New Roman font.

           Date: April 27, 2020



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